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The Cloud Foundation, Return to Freedom, and Virginia
Marie Hudson, Plaintiffs


                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

AMERICAN WILD HORSE PRESERVATION
CAMPAIGN
1025 Alameda # 633                                      Case No.: 1:16-cv-00001
Belmont, CA 94002

THE CLOUD FOUNDATION                                    COMPLAINT FOR INJUNCTIVE
107 South 7th Street                                    AND DECLARATORY RELIEF
Colorado Springs, CO 90905

RETURN TO FREEDOM
P.O. Box 926
Lompoc, CA 93438
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VIRGINIA MARIE HUDSON
3506 Eastside Highway
Stevensville, MT 59870
                                      Plaintiffs

                      v.

SALLY JEWELL, Secretary
Department of the Interior
1849 C Street N.W.
Washington, DC 20240

NEIL KORNZE, Director
Bureau of Land Management
1849 C Street, N.W.
Washington, DC 20240

ELLIOT TRAHER, Field Manager
Jarbidge Field Office
Bureau of Land Management
2536 Kimberly Road
Twin Falls, ID 83301

MICHAEL C. COURTNEY, District Manager
Twin Falls District Office
Bureau of Land Management
2536 Kimberly Road
Twin Falls, ID 83301
                             Defendants


       1.      This case challenges a controversial and precedent-setting plan by the Interior

Department’s Bureau of Land Management (“BLM”) to permanently sterilize an entire herd of

wild horses in the Saylor Creek Herd Management Area (“HMA”)—an action that will disrupt

and destroy the natural, wild, and free-roaming behavior of these horses, as well as the social

organization and long-term viability of the herd to which they belong. The BLM authorized


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sterilizing this wild horse herd in its recently approved Jarbidge Resource Management Plan

(“RMP”), which the agency issued under the Federal Land Policy and Management Act

(“FLPMA”), 43 U.S.C. § 1712(a), in order to provide comprehensive guidance for the

management of public lands in South-Central Idaho. By authorizing the sterilization of the entire

Saylor Creek wild horse herd in the Jarbidge RMP, the BLM failed to fulfill its statutory

obligations under the National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321–4370f,

as well as the Wild Free Roaming Horses and Burros Act (“Wild Horse Act” or “WHA”), 16

U.S.C. §§ 1331–1340.

       2.      In particular, the BLM violated NEPA by failing to adequately analyze the

environmental consequences of sterilizing an entire herd of wild free-roaming horses insofar as

that drastic action will adversely affect individual wild horses and the herd as a whole, as well as

by failing to consider reasonable alternatives such as less invasive means to manage wild horse

population growth. The BLM also violated both NEPA and the Wild Horse Act by ignoring

significant comments from nationally recognized experts that advised the agency of its plan’s

pitfalls and the myriad ways that it contravenes current scientific knowledge about wild horse

physiology and herd dynamics. Finally, by adopting an action that fails to protect wild horses

and uses an unprecedentedly intensive and invasive management practice, the BLM violated the

Wild Horse Act itself. The BLM’s failure to comply with the statutory mandates of NEPA and

the WHA render its decision in the Jarbidge RMP to sterilize the Saylor Creek wild horse herd a

violation of the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 551–706, particularly due to

the BLM’s failure to consider important aspects of the problem before the agency, its failure to

adequately explain the basis for its decisions, and its failure to respond to significant comments

concerning the adverse effects its plan will have on wild horses—actions that were committed in



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a manner that is arbitrary and capricious, an abuse of discretion, otherwise not in accordance

with law, or without observance of procedure required by law. Id. § 706(2).

                                     JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

       4.      Pursuant to 28 U.S.C. § 1391, venue is proper in the Southern Division of the

District of Idaho because the Saylor Creek HMA is located in Owyhee County, Idaho.

                                               PARTIES

       5.      Plaintiff American Wild Horse Preservation Campaign (“AWHPC”) is a broad-

based coalition of public-interest groups, environmentalists, humane organizations, and historical

societies representing over ten million supporters. Members of the organizations represented by

AWHPC enjoy viewing wild horses on public lands, including the Saylor Creek Herd

Management Area. AWHPC submitted comments on the BLM’s Draft Environmental Impact

Statement (“DEIS”) and draft RMP, opposing the BLM’s plan to sterilize the Saylor Creek wild

horse herd and suggesting less invasive tools the BLM should use to manage wild horse

populations. After the BLM issued the Final Environmental Impact Statement (“FEIS”) and

RMP, AWHPC timely filed a protest letter with the BLM, again objecting to the unlawful

decision to sterilize the Saylor Creek herd and including extensive evidence, scientific literature,

and expert opinions criticizing sterilization of wild horses.

       6.      The BLM’s objective of sterilizing the Saylor Creek wild horse herd harms

AWHPC’s organizational interest and the interests of its coalition members in protecting and

preserving viable “free roaming” herds of “wild” horses on public lands, as well as their aesthetic

interests in observing wild horses engaging in their natural behaviors on public lands.




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       7.      AWHPC has brought similar cases in recent years, challenging the BLM’s prior

efforts to control wild horse populations through sterilization. Am. Wild Horse Preservation

Campaign v. Salazar, Civ. No. 11-1352 (D.D.C.) (ABJ) Dkt. Nos. 13–14 (Aug. 8, 2011); Am.

Wild Horse Preservation Campaign v. Salazar, Civ. No. 11-2222 (D.D.C.) (BAH) Dkt. No. 26

(May 9, 2012). Although these prior cases led the BLM to withdraw previous similar wild horse

sterilization plans, AWHPC has been forced to spend significant organizational resources

monitoring, commenting on, opposing, and challenging in court—yet again—BLM’s unlawful

wild horse sterilization plan, when AWHPC’s extremely limited resources could otherwise be

spent on other programs and activities to promote its mission. AWHPC’s mission is to increase

protection for wild horses and burros in order to preserve these cherished animals and their

natural behaviors for future generations to enjoy in the wild. For example, AWHPC works in

Nevada through a cooperative agreement with the Nevada Department of Agriculture to

humanely manage wild horses under state jurisdiction. To execute this management, AWHPC

must expend significant funds to purchase hay, fencing supplies, and cattle guards to keep wild

horses safe and away from roadways and housing developments. AWHPC must also spend

resources to purchase hundreds of doses of the PZP fertility control vaccine, to humanely reduce

population growth rates, and to train and certify community members to deliver the vaccine via

remote darting. These efforts work directly to keep wild horses wild and free on the range, which

is a key mission of AWHPC.

       8.      A court order declaring unlawful the land use plan objective of sterilizing the

Saylor Creek wild horse herd and requiring the agency to amend the Jarbidge RMP in

compliance with NEPA and the WHA would protect AWHPC’s interests and those of its

coalition members in the welfare and continued viability of free-roaming herds of wild horses in



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the Saylor Creek HMA and elsewhere in the U.S., and would allow AWHPC to devote its

limited resources to other wild horse protection and preservation programs rather than having to

spend such resources to counteract the BLM’s unlawful action of sterilizing wild horses.

       9.       Plaintiff The Cloud Foundation is a 501(c)(3) nonprofit organization

headquartered in Colorado Springs, Colorado. The organization is dedicated to the preservation

of wild horses and burros on public lands in the western United States, including the Saylor

Creek HMA. The Cloud Foundation’s supporters enjoy viewing, studying, photographing, and

filming the natural behavior of wild horses in their natural habitats, free from human

interference. The Foundation’s supporters travel to various areas, including public lands in

Idaho, specifically for the purpose of viewing wild horses.

       10.      On behalf of its supporters, the Cloud Foundation also regularly submits

comments on various BLM actions related to the management of wild horses and burros. The

Cloud Foundation has written, and its executive director has spoken, about the difference in

behaviors between geldings and stallions in an HMA in Oregon. The Cloud Foundation’s staff

also has more than twenty years’ experience documenting the behavior of wild horses in the

United States and Canada. The Cloud Foundation has participated in lawsuits challenging the

BLM’s prior efforts to sterilize wild horses and signed AWHPC’s protest letter regarding the

Jarbidge RMP.

       11. A court order declaring unlawful the land use plan objective of sterilizing the Saylor

Creek wild horse herd and requiring the agency to amend the Jarbidge RMP in compliance with

NEPA and the WHA would protect the Cloud Foundation’s interests in the welfare and

continued viability of wild, free-roaming herds of wild horses and would allow the Foundation to

devote its scarce resources to other conservation programs, such as its effort to work with the



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BLM to manage wild horse populations using temporary, reversible contraceptives in Wyoming,

Montana, and Colorado.

       12.     Plaintiff Return to Freedom is a 501(c)(3) nonprofit organization headquartered in

Lompoc, California. Return to Freedom is dedicated to preserving the freedom, diversity, and

habitat of America’s wild horses through sanctuary, education, and conservation. Return to

Freedom has a nearly 20-year history of pioneering minimally invasive management of wild

horses and burros at its sanctuary, which can be applied in the wild. Return to Freedom has

relocated intact natural harem and bachelor bands, adopted “excess” wild horses from public

lands, and provided those horses with sanctuary while managing populations using Native PZP

(a temporary, reversible contraceptive) with an efficacy rate of 91 percent. Return to Freedom’s

mission for sanctuary focuses on the preservation and protection of the natural behaviors of wild

horses and educating the public through sensitive observation of natural herd behaviors.

Additionally, Return to Freedom advocates for minimally invasive management solutions to

protect wild horses on public lands. Return to Freedom has devoted resources to opposing

BLM’s unlawful management of wild horse populations on public lands. For example, Return to

Freedom’s founder, Neda DeMayo, filed a declaration in AWHPC’s litigation against BLM’s

prior effort to sterilize wild horses. Am. Wild Horse Preservation Campaign v. Salazar, Civ. No.

11-1352 (D.D.C.) (ABJ) Dkt. Nos. 13–14 (Aug. 8, 2011). AWHPC included that declaration as

an exhibit with its protest letter regarding the BLM’s plan at issue in this case. The BLM,

however, did not address that declaration or the statements found therein.

       13. A court order declaring unlawful the BLM’s objective of sterilizing the Saylor Creek

wild horse herd and requiring the agency to amend the Jarbidge RMP in compliance with NEPA

and the WHA would protect Return to Freedom’s interests in the welfare and continued viability



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of wild, free-roaming herds of wild horses and will allow Return to Freedom to devote its scarce

resources to other wild horse conservation programs, including the preservation of rare and

threatened heritage strains of the American Mustang, educational programs, on-the-range

programs, and cooperative projects to increase on-the-range wild horse management solutions.

       14.     Plaintiff Virginia Marie Hudson has a passion for observing wild horses

exhibiting natural social behaviors in their natural habitats in HMAs on public lands, including

the Saylor Creek HMA. She owns 21 equines, including one burro and two mustangs that were

once under BLM management. Ms. Hudson regularly visits HMAs in order to observe and

photograph the behavior of wild horses. Ms. Hudson recently visited the Saylor Creek HMA and

has concrete plans to return both this autumn and again in future years. Ms. Hudson regularly

visits the nearby Challis HMA, and based on recent visits to the Saylor Creek HMA, she intends

to visit Saylor Creek in her regular trips to view wild horses in Idaho. Each year, Ms. Hudson

spends roughly 18 days traveling to HMAs to observe wild horse behavior, even taking time off

from work to do so. When observing wild horses, Ms. Hudson particularly enjoys observing the

natural social behavior of stallions and of mares with foals, both of which are behaviors that

would disappear (or at minimum be severely and negatively impacted) if the horses were

sterilized. Ms. Hudson has observed distinctive wild horse behaviors during her visits to the

Saylor Creek HMA. On other HMAs that Ms. Hudson has visited in Idaho, Nevada, and Oregon

(and other wild horse habitat in Canada), smaller groups of wild horses maintained their distance

from one another. In contrast, in the Saylor Creek HMA, Ms. Hudson has observed larger family

bands gathering more closely. She has witnessed foals from different families laying down next

to one another while their parents graze nearby. Ms. Hudson surmises that the horses display

greater cooperation in this HMA for protection in very flat terrain. Ms. Hudson looks forward to



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returning to the HMA in the spring to observe the distinctive behavior of the horses in this HMA.

Because these distinctive behaviors involve the family dynamics of the wild horse herd,

including their behavior with foals, Ms. Hudson worries that sterilization of this herd will

dramatically change or destroy these distinctive behaviors, depriving her of the ability to witness

behaviors that are unique in her experience of observing wild horses in different HMAs.

       15.     Although Ms. Hudson would likely return to the Saylor Creek HMA even if the

BLM carried through with its objective to sterilize the wild horse herd, she opposes the BLM’s

plan to do so because of the adverse impact sterilization would have on the horses’ individual

and herd behavior. This action will harm Ms. Hudson’s aesthetic and recreational interests in

observing and photographing the wild behavior of horses. Similarly, the BLM’s procedural

failures have injured Ms. Hudson: if the BLM had properly performed its analytical duties under

NEPA and considered the statutory requirements of the WHA, the agency may have reached a

decision that would better protect Ms. Hudson’s interests in observing the natural behavior of

wild horses on the Saylor Creek HMA.

       16.     A court order declaring unlawful the BLM’s objective of sterilizing wild horses

and requiring the agency to revise the Jarbidge RMP in conformance with the WHA would

protect Ms. Hudson’s interests in the wild horses and her ability to enjoy the horses and their

natural wild behaviors in the future.

       17.     Defendant Sally Jewell is the Secretary of the Department of the Interior, the

parent agency of the BLM, and is thus responsible for the decision challenged here.

       18.     Defendant Neil Kornze is the Director of the BLM and therefore is also

responsible for the decision at issue.




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        19.     Defendant Elliot Traher is the Field Manager of the BLM’s Jarbidge Field Office.

He signed the Record of Decision for the Jarbidge RMP and is thus responsible for its contents.

        20.     Defendant Michael C. Courtney is the District Manager of the Twin Falls District

of the BLM. He signed the Record of Decision for the Jarbidge RMP and is thus responsible for

its contents.

                       FACTS GIVING RISE TO PLAINTIFFS’ CLAIMS


I.      STATUTORY AND REGULATORY FRAMEWORK


        A.      The Wild Free-Roaming Horses and Burros Act

        21.     Finding that “wild free-roaming horses and burros are living symbols of the

historic and pioneer spirit of the West,” and that “they contribute to the diversity of life forms

within the Nation and enrich the lives of the American people,” Congress enacted the WHA in

1971 to ensure that “wild free-roaming horses and burros shall be protected from capture,

branding, harassment, [and] death,” and that they are “considered in the area where presently

found, as an integral part of the natural system of the public lands.” 16 U.S.C. § 1331.

        22.     The Act provides that the Secretary of the Interior “shall manage wild free-

roaming horses and burros as components of the public lands … in a manner that is designed to

achieve and maintain a thriving natural ecological balance on the public lands.” Id. The WHA’s

implementing regulations require that “[w]ild horses and burros shall be managed as self-

sustaining populations of healthy animals in balance with other uses and the productive capacity

of their habitat.” 43 C.F.R. § 4700.0-6(a). The regulations further require that “[m]anagement

activities affecting wild horses and burros shall be undertaken with the goal of maintaining free-

roaming behavior.” Id. at § 4700.0-6(c).



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       23.     The WHA provides that the BLM “may designate and maintain specific ranges on

public lands as sanctuaries for [the] protection and preservation” of wild horses. 16 U.S.C. §

1333(a). As relevant here, the BLM’s regulations recognize two types of management areas for

wild horses: Herd Management Areas (“HMAs”) and Herd Areas (“HAs"). An HMA is an area

“established for the maintenance of wild horse and burro herds.” 43 C.F.R. § 4710.3-1. In

contrast, an HA is any “geographic area identified as having been used by a [wild horse or burro]

herd as its habitat in 1971,” when Congress enacted the WHA. Id. at § 4700.0-5(d). The

important distinction is that wild horses were present on an HA in 1971, while a HMA continues

to host wild horses.

       24.     The BLM is tasked with protecting and managing wild horses and burros on

nearly 26.9 million acres of the 245 million acres of public lands the agency administers. In

delineating areas for wild horse use, the BLM “shall consider the appropriate management level

for the herd, the habitat needs of the animals, [and] the relationships with other uses of the public

and adjacent private lands.” 43 C.F.R. § 4710.3-1. The appropriate management level (“AML”)

is “expressed as a population range within which [wild horses] can be managed for the long

term” in a given herd management area without damaging the range. See BLM Handbook H-

4700-1, at 4.2.1; 16 U.S.C. § 1331(b)(1) (authorizing the BLM to determine AMLs). In

establishing, evaluating, or adjusting an AML for a management area, the BLM states that it will

“include an in-depth evaluation of intensive monitoring data or land health assessment …

includ[ing] studies of grazing utilization, range ecological condition and trend, actual use, and

climate (weather) data [as well as] [p]opulation inventory, use patterns and animal distribution.”

BLM Handbook H-4700-1, at 4.2.2.1, 4.2.2.2. The National Academy of Sciences has noted that




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the BLM’s process for establishing and maintaining AMLs suffers from “major challenges,”

including a lack of transparency and questionable scientific methodologies.

       25.     Although Congress amended the WHA in 1978 to provide the BLM additional

flexibility in managing wild horse populations in balance with other uses of the range, the WHA

as amended still constrains the BLM’s wild horse management actions in certain crucial respects.

For example, the WHA requires the BLM to keep a current inventory of wild horse populations

in order to make determinations about “whether appropriate management levels should be

achieved by the removal or destruction of excess animals, or other options (such as sterilization,

or natural controls on population levels).” 16 U.S.C. § 1333(b)(1). In making such

determinations, the Act mandates that the BLM shall “protect” wild horses as an overarching

statutory objective. Id. at §§ 1331, 1333(a). Further, the WHA states that “wild free-roaming

horses … shall be protected from capture, branding, harassment, or death; and to accomplish this

they are to be considered … an integral part of the natural system of the public lands.” Id. at §

1331. Moreover, the WHA states that land managers “shall consider the recommendations of

qualified scientists in the field of biology and ecology.” Id. at § 1333(a). Thus, the WHA

imposes significant procedural and substantive constraints on the BLM’s discretion to manage

wild horse populations: the agency must consider recommendations from qualified scientists to

determine how to protect wild horses from capture and harassment while managing them as an

integral part of the natural system of the public lands.

       26.     The 1978 amendments to the WHA demonstrated a strong congressional intent to

confine and guide the BLM’s discretion to manage wild horse populations to maintain the AML.

Those amendments established a rigorous system that the BLM must follow before removing

horses from the range. If the BLM, on the basis of the AML and other factors, determines that (a)



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wild horses are overpopulating a given area of public lands, and (b) those horses must be

removed, the agency may take measures to remove “excess” animals in order “to restore a

thriving natural ecological balance to the range.” 16 U.S.C. § 1333(b). The statute defines the

term “excess” to mean those “wild free-roaming horses or burros … which must be removed

from an area in order to preserve and maintain a thriving natural ecological balance and multiple-

use relationship in that area.” Id. at § 1332(f). As when it adjusts AML, in making an “excess”

determination, the BLM “shall analyze grazing utilization and distribution, trend in range

ecological condition, actual use, climate (weather) data, current population inventory … and

other factors such as the results of land health assessments which demonstrate removal is needed

to restore or maintain the range in a” thriving natural ecological balance. BLM Handbook H-

4700-1, at 4.3.

        27.       As the WHA’s implementing regulations make clear, the BLM “may close

appropriate areas of the public lands to grazing use by all or a particular kind of livestock … [i]f

necessary to provide habitat for wild horses or burros, to implement herd management actions, or

to protect wild horses or burros from disease, harassment, or injury.” 43 C.F.R. § 4710.5(a).

    B. The Taylor Grazing Act

        28.       Under the Taylor Grazing Act (“TGA”), 43 U.S.C. §§ 315–315r, the Secretary of

the Interior, through the BLM, is “authorized” to issue permits for the grazing of livestock on

public lands “upon the payment of reasonable fees.” 43 U.S.C. § 315b. However, the statute

further provides that “the creation of a grazing district or the issuance of a [grazing] permit …

shall not create any right, title, interest, or estate in or to the lands.” Id.




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       29.       Furthermore, the Secretary may withdraw land from grazing and reclassify it,

devoting it to any “more valuable or suitable” use, including use by wild horses. Id. at § 315f; 43

U.S.C. § 1712.

   C. The Federal Land Policy and Management Act

       30.       The Federal Land Policy and Management Act of 1976 (“FLPMA”), 43 U.S.C. §§

1701–1787, is also administered by the BLM. FLPMA requires that certain public lands and their

resources be “periodically and systematically inventoried and their present and future use []

projected through a land use planning process.” Id. at § 1701(a)(2). FLPMA further mandates

that “public lands shall be managed in a manner that will protect the quality of scientific, scenic,

historical, ecological, environmental, air and atmospheric, water resource, and archaeological

values; that, where appropriate, will preserve and protect certain public lands in their natural

condition; that will provide food and habitat for fish and wildlife and domestic animals; and that

will provide for outdoor recreation and human occupancy and use.” Id. at § 1701(a)(8). FLPMA

thus requires the BLM to manage public lands for “multiple use,” which Congress defined as

“the management of the public lands and their various resource values so that they are utilized in

the combination that will best meet the present and future needs of the American people … with

consideration being given to the relative values of the resources and not necessarily to the

combination of uses that will give the greatest economic return or the greatest unit output.” Id. at

§ 1702(c).

       31.       FLPMA’s implementing regulations require the BLM to periodically develop,

maintain, and revise “resource management plans” (“RMPs”), which are written documents

“designed to guide and control future management actions and the development of subsequent,

more detailed and limited scope plans for resources and uses.” 43 C.F.R. § 1601.0-2.



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   D. The National Environmental Policy Act

       32.     Congress enacted the National Environmental Policy Act (“NEPA”), 42 U.S.C. §§

4331–4370f, to ensure that federal agencies fully consider the environmental impacts of their

actions before taking them, to ensure that agencies consider alternatives to proposed actions that

may have less adverse environmental impacts, and to ensure that agencies make information

publicly available with sufficient quantity and clarity to promote fully informed public

participation in agency decision-making.

       33.     To meet these objectives, all agencies must prepare an Environmental Impact

Statement (“EIS”) for any major federal action that may “significantly affect” the environment.

Id. at § 4332(C). Approval of an RMP “is considered a major federal action significantly

affecting the quality” of the environment, requiring the BLM to prepare an EIS. 43 C.F.R. §

1601.0-6. An EIS must include “a detailed statement” about a proposed action’s environmental

impact and a reasonable range of alternative actions and their environmental impacts. 42 U.S.C.

§ 4332(2)(C). An EIS “shall provide a full and fair discussion of significant environmental

impacts and shall inform decisionmakers and the public of the reasonable alternatives which

would avoid or minimize adverse impacts.” 40 C.F.R. § 1502.1. This full and fair discussion

must analyze cumulative impacts, which “result from the incremental impact of the action when

added to other past, present, and reasonably foreseeable future actions … [and which] can result

from individually minor but collectively significant actions.” Id. at § 1508.7. An EIS must

“[r]igorously explore and objectively evaluate all reasonable alternatives, and for alternatives

which were eliminated from detailed study, briefly discuss the reasons for their having been

eliminated.” Id. at § 1502.14. NEPA requires an agency to analyze environmental consequences

of a proposed action as soon as it is reasonably possible to do so. 40 C.F.R. § 1501.2.



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         34.   Public engagement in agency decision-making is one of NEPA’s principal goals.

To that end, NEPA’s implementing regulations require EISs to “be written in plain language …

so that … the public can readily understand them.” Id. at § 1502.8. Additionally, an agency

preparing an EIS must “[r]equest comments from the public, affirmatively soliciting comments

from those persons or organizations who may be interested or affected.” Id. at § 1503.1(a)(4).

The agency must also consider and respond to public comments. Id. at § 1503.4. In response to

public comments, the agency may modify the project, amend the EIS, or if it disagrees with a

comment, “[e]xplain why the comments do not warrant further agency response, citing the

sources, authorities, or reasons which support the agency’s position.” Id. at 1503.4(a).

         35.   At the EIS process’s conclusion, an agency must issue a record of decision

(“ROD”). Id. at § 1505.2 The ROD must explain the agency’s decision, identify all alternatives

the agency considered, and explain the factors that led the agency to its ultimate decision. Id. An

agency “shall identify and discuss all such factors including any essential considerations of

national policy which were balanced by the agency in making its decision and state how those

considerations entered into its decision.” Id. at § 1502.2(b). Finally, the agency must “[s]tate

whether all practicable means to avoid or minimize environmental harm from the alternative

selected have been adopted, and if not, why they were not.” Id. at § 1502.2(c).

II.      FACTUAL BACKGROUND

      A. The Saylor Creek Herd Management Area

         36.   The Saylor Creek HMA includes roughly 95,000 acres of public lands under the

BLM’s jurisdiction. Despite the fact that the HMA is by definition “established for the

maintenance of wild horse and burro herds,” 43 C.F.R. § 4710.3-1, the BLM favors livestock

grazing over wild horses in Saylor Creek (following the BLM’s general pattern of favoring



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livestock over wild horses throughout the public lands). For example, 126 miles of permanent

fences divide the HMA’s nearly 160 square miles into ten cattle pastures. In addition, the BLM

has historically allocated roughly ten times as much forage for livestock as it has allocated for

horses in this HMA, and the recently approved Jarbidge RMP will continue this highly

inequitable pattern. As for water, the BLM has not provided wild horses in the HMA with access

to the Snake River, where they historically watered, so the Saylor Creek herd relies on an

artificial watering system designed and built for livestock.

       37.     Wild horses have occupied the Saylor Creek area since before Congress passed

the WHA, leading BLM to manage the area as an HMA. Human disturbance in the HMA has led

the herd to favor certain home ranges, but the herd also ranges throughout the HMA to the extent

that human disturbance permits. From 1987 to 2015, the BLM set the AML for the herd at 50

horses. In the recently approved Jarbidge RMP, the BLM modified the AML range wherein the

BLM set the low AML at 50 wild horses and the high AML at 200 horses, meaning that the

population is within the AML when there are between 50 and 200 horses. The herd’s actual

population has fluctuated in the past. The BLM reports that since 1982, it has conducted four

roundups of horses from the HMA. In 1982 and 1989, the BLM removed horses from the HMA

to reduce the population to the AML. The BLM does not report that it conducted any roundups in

the sixteen years between 1989 and 2005. In 2005, large wildfires threatened the herd, leading

the BLM to conduct an “emergency gather” in which it removed 334 horses and returned 93

horses to the HMA after the wildfires. Before releasing them, the BLM treated most mares with

Porcine Zona Pellucida (PZP), a temporary, reversible contraceptive. In 2010, another set of

wildfires again threatened the herd, leading to another “emergency gather,” in which the agency

removed 194 horses and subsequently returned 30 horses to the HMA. The BLM reports that



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between 2006 and 2010, the herd had an average growth rate of 18%. This population growth

rate is not unusual for BLM-managed wild horse herds according to the National Academy of

Sciences, which “conclude[d] that it is likely that most free-ranging horse populations on public

rangelands in the western United States are growing at an annual rate of 15–20 percent.”

       38.     The BLM has not reported any deterioration of rangeland health in the Saylor

Creek HMA. Chapter 3 of the FEIS for the Jarbidge RMP describes the “affected environment”

and includes a section on “wild horses” that focuses on the Saylor Creek HMA. That section

describes impacts from several wildfires, but notes that “[o]ver the life of the 1987 RMP …

forage production has increased.” While the horses do rely on a livestock watering system, “a

successful working relationship [with local ranchers] exists to ensure wild horses always have

sufficient water available.” The “horses have developed a strong affinity to preferred areas, or

home ranges,” but the BLM does not suggest that the horses have caused any localized

overgrazing in these preferred areas. Similarly, the BLM does not suggest that rangeland health

within the HMA is suffering, nor does it suggest that wild horses are responsible for any

measurable damage to the range.

   B. The BLM’s prior efforts to sterilize wild horses and Plaintiffs’ prior opposition

       39.     Since 2010, the BLM has at least twice made and withdrawn site-specific plans to

sterilize wild horses. Although this case concerns the agency’s first attempt to approve an RMP

authorizing the sterilization of an entire wild horse herd, the agency’s prior similar efforts

illustrate that this RMP is part of a larger history of BLM’s plans to sterilize wild horse herds as

an invasive means of population control.

       40.     In June 2010, the BLM issued a draft of a general policy for the management of

wild horses and burros. Explaining that “Americans are passionate about wild horses and burros,



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and there are many different, often conflicting, perspectives about how they should be managed,”

the BLM explained it was “committed to bridging these differences … to develop a strategy and

find solutions that are best for wild horses, burros, wildlife, and the many uses of the public

lands.”

          41.   In response, Plaintiffs AWHPC and the Cloud Foundation submitted comments

stressing the importance of studying the deleterious impacts of livestock grazing on the public

lands and considering a reduction in such use in order to both preserve the public lands and

comply with the congressional mandates to protect the wild horses and burros that live there.

          42.   On February 7, 2011, recognizing that “[t]he success of any strategy the BLM

develops hinges on our ability to bridge the many divergent and conflicting perspectives about

how the Wild Horse and Burro Program should be managed in the West,” the BLM notified the

public that it was commissioning a National Academy of Sciences (“NAS”) committee to

“gather data and provide reports” addressing the management of wild horse and burro

populations, genetic diversity of the herds, the need to adjust AMLs, and various methods for

managing wild horse and burro populations. In 2013, the NAS published its report, “Using

Science to Improve the BLM Wild Horse and Burro Program: A Way Forward.” The NAS report

reviewed the science on wild horse fertility management and identified the most promising

fertility control methods. At no point did the NAS review or recommend the wholesale

sterilization of entire wild horse herds; instead, the NAS recommended several methods that

would reduce and manage wild horse population growth rates while simultaneously preserving

natural behaviors of wild horses and reproductively viable populations.

          43.   However, the BLM did not wait for the NAS to issue its report before moving

forward with plans to sterilize wild horses. Instead, three weeks after announcing that it had



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commissioned the NAS report, on February 28, 2011, the BLM released a “Proposed Strategy”

for long-term management of wild horses. For the first time in the 40-year history of the WHA,

the BLM proposed “incorporating a non-reproducing component” of wild horses in a number of

HMAs, “while maintaining the remainder of the herd as a self-sustaining (reproductive)

population.” In other words, the BLM proposed sterilizing both male and female horses and

returning them to the range as a way to control their population and thereby purportedly protect

the public lands from deterioration. The BLM noted that “it [is] unlikely that fertility control

focused on males would be effective in slowing population growth.” The BLM also noted likely

behavioral changes, as “[g]eldings lose their stallion-like behavior after a few months, are less

competitive than stallions, and have fewer impacts on herd social behavior as a result.” In other

words, the BLM acknowledged that it would sterilize both male and female horses and that this

strategy would likely alter the natural behavior of wild horses. The BLM explained that it would

wait for the NAS report before finalizing its strategy and would consider further public

comments before adopting a final long-term wild horse management plan.

       44.     Again, the BLM did not wait. Instead, three months later, in June 2011, the BLM

announced that it would begin implementing its strategy of managing “non-reproducing” wild

horses during a wild horse roundup in Wyoming. On July 25, 2011, Plaintiff AWHPC, along

with other organizations and individuals, sued the BLM and sought a temporary restraining order

and preliminary injunction to prevent the BLM from using this new, untested, and unprecedented

management tool without considering its environmental impacts on individual horses, wild horse

herds, or the range. American Wild Horse Preservation Campaign v. Salazar, Civ. No. 11-01352

(D.D.C.) (ABJ). In response to this lawsuit, the BLM withdrew its plan. The plaintiffs argued

that the case was not moot because the BLM planned to use this new management approach in



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other roundups. The Plaintiffs sought to amend their complaint to challenge this practice in order

to establish that this management technique is inconsistent with the WHA and that the

government would not use this management technique in the future. However, because the site-

specific action at issue in that case had been withdrawn, the court dismissed that case as moot on

August 8, 2011.

       45.     Roughly two months later, on September 28, 2011, the BLM issued a preliminary

Environmental Assessment (“EA”) for a proposed roundup of wild horses from the “Pancake

Complex,” which included several HMAs in Nevada. (An EA is similar to an EIS, but less

rigorous; generally, an EA’s goal is to determine whether an agency action will have

“significant” environmental impacts that require the preparation of an EIS. 40 C.F.R. § 1501.4).

The BLM determined that the Complex contained 1,847 “excess” horses and proposed retaining

361 reproductively viable wild horses in the complex. The agency planned to implement this

plan over two to four gathers within six to ten years. Under this plan, the BLM would round up

roughly 1,000 wild horses every two to three years until it reached the target of 361 reproductive

horses. The BLM also proposed to release 200 geldings to the range as a “non-breeding

component” of the herd. The plan would also have used other fertility control methods, such as

skewing the herd’s sex ratio and administering short-term contraceptives.

       46.     Plaintiff AWHPC commented on the BLM’s Pancake Complex EA, opposing it

on the grounds that the agency had not adequately analyzed important environmental impacts,

including the effect of sterilization on individual horses and the entire wild horse herd. AWHPC

further explained that the BLM could achieve its objectives through less drastic alternatives, such

as reducing livestock grazing, and argued that the BLM should have prepared an EIS for this

controversial, precedent-setting plan with uncertain environmental impacts. In support of its



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comments, AWHPC submitted several sworn declarations from leading wild horse experts and

others, which it had previously submitted in support of its motion for a preliminary injunction in

the prior case challenging wild horse sterilization in Wyoming. Plaintiff The Cloud Foundation

also objected to the BLM’s failure to analyze the effects of sterilization on individual horses and

wild horse herds, as well as the BLM’s failure to prepare an EIS.

       47.     On November 28, 2011, the BLM issued a final EA for the Pancake Complex that

did not alter the draft EA, and issued a ROD that authorized the BLM to proceed with the gather

and the sterilization of some male horses in the Pancake Complex. Plaintiffs AWHPC and The

Cloud Foundation, along with other organizations and individuals, challenged the BLM’s EA for

the Pancake Complex. AWHPC filed the same expert declarations in that challenge as it filed in

the prior case in Wyoming, but the BLM insisted these declarations were not part of the

administrative record. The district court disagreed, concluding that the expert declarations were

indeed part of the administrative record for the Pancake Complex decision record and EA and

that the BLM should have considered those declarations in rendering a decision as to whether

sterilization of wild horses was appropriate. Am. Wild Horse Preservation Campaign v. Salazar,

859 F. Supp. 2d 33, 45–47 (D.D.C. 2012). Shortly thereafter, the BLM withdrew the Pancake

Complex EA, mooting the case. Thus, the BLM has proposed and withdrawn two prior efforts at

widespread sterilization of wild horses, although in those prior actions the BLM authorized only

a portion of the herds at issue to be non-reproducing while co-existing with some reproductive

stallions and mares, in contrast to the BLM’s current plan to sterilize the entire herd in the Saylor

Creek HMA.




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   C. The Jarbidge Resource Management Plan

       48.     The BLM’s most recent authorization of widespread sterilization of wild horses

appears in its Jarbidge RMP. In this RMP, the BLM has approved the sterilization of all wild

horses in the Saylor Creek HMA, which stands in contrast to the prior wild horse sterilization

plans described above in Wyoming and Nevada. In those actions, the BLM made formal findings

that the wild horse populations at issue exceeded the relevant AMLs to the detriment of the

rangeland, and thus the BLM determined that it needed to incorporate as one component of those

actions some non-reproducing horses. In contrast, in the Jarbidge RMP the BLM authorized the

extremely invasive action of removing and sterilizing all the wild horses in the Saylor Creek

HMA without even documenting any damage to the range caused by the Saylor Creek herd and

without finding that the herd contains large numbers of excess horses above the operative AML.

Faced with a smaller problem, the BLM chose a much larger and disproportionate tool. The

BLM authorized as its selected action the most invasive management practice available that will

result in serious adverse consequences to individual horses and herd dynamics.

       49.     The BLM published the Draft Jarbidge RMP and its associated Draft EIS

(“DEIS”) on September 3, 2010. These documents identified the BLM’s “preferred alternative”

of managing the Saylor Creek wild horse herd as a “non-reproducing” herd of between 50 and

200 horses. The DEIS stated that the BLM would round up all the horses in the HMA and return

“either spayed or gelded animals.” Thus, the DEIS identified not only the goal of sterilization

but also the preferred means of gelding stallions and spaying mares.

       50.     In response to the DEIS, Plaintiff AWHPC filed comments opposing the BLM’s

wild horse sterilization plan. AWHPC noted that the BLM had historically managed the HMA to

favor livestock—which the BLM manages via grazing permits that it may revoke, suspend, or



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modify in its discretion—to the detriment of the federally protected wild horses the agency has a

mandatory obligation to protect pursuant to the Wild Horse Act. AWHPC further challenged the

“limited and industry-centered range of alternatives” in the DEIS and suggested that BLM

should consider alternatives with greater protections for wild horses. AWHPC specifically

challenged the BLM’s plan to sterilize the Saylor Creek herd, noting that “[a]ny plans for non-

reproducing herds, including gelded stallions and/or spayed mares should be excluded” from

further consideration by the agency. AWHPC specifically urged the BLM to prohibit “surgical

and/or chemical sterilization of horses.” Instead, AWHPC urged the BLM to use proven

alternative population management strategies, including the use of short-term, reversible

contraceptives, which have strong support within the scientific community and are known not to

cause long-term effects to wild horse behaviors or physiology.

       51.     On August 22, 2014, the BLM issued its Final EIS (“FEIS”). After providing the

necessary period for protest and for a review of consistency with state law, the BLM issued its

Record of Decision and Final RMP, along with the BLM Director’s Protest Resolution Report,

on September 2, 2015. The Protest Resolution Report dismissed AWHPC’s objections but failed

to address many of the specific comments raised in AWHPC’s protest letter and exhibits.

                      1. The BLM’S Record of Decision

       52.     The BLM’s Record of Decision for the Jarbidge RMP stated that the “BLM

selected to manage the Saylor Creek Wild Horse herd as a non-reproducing herd due to no

natural water on public land and no unique herd characteristics.” The ROD stated that the BLM’s

Wild Horses and Burros Management Handbook—an informal policy guidance that never

underwent notice and comment, that was published before the NAS provided scientific guidance

on managing wild horse populations, and that lacks the force of law—provided examples of



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criteria that could be used to select HMAs for sterilization, including lack of water on public

lands, reliance on private water, no special or unique herd characteristics, and low ecologic

condition. These criteria do not appear in the WHA itself or in BLM’s implementing regulations.

The criteria appear only in the Handbook, which, again, has never been subject to notice and

comment. The ROD then explained how the herd putatively met these criteria.

       53.     First, the ROD stated that the herd lacks “special or unique characteristics”

because it has a “genetic makeup [that] is average for feral wild horse herds with no trace back to

Spanish decent [sic].” The term “special or unique characteristics” does not appear in the WHA,

which Congress enacted to protect all wild horses rather than only those horses with a certain

genetic makeup. Nor has the BLM ever defined this term in any regulation implementing the

Wild Horse Act. Neither the ROD nor the Handbook on which it relied have offered any

explanation of why a herd’s genetic makeup is the only characteristic the agency reviews for

being “special or unique.” The Saylor Creek HMA is one of only six HMAs in Idaho and

represents roughly 25% of the total area of all Idaho’s HMAs. The Saylor Creek herd is the only

population of wild horses within a roughly 50-mile radius, which seemingly qualifies as

“special” under that term’s plain meaning. In any event, the BLM has never drawn any rational

connection between its finding that the Saylor Creek herd has an average genetic makeup and the

agency’s decision to sterilize all the herd’s members.

       54.     Second, the ROD noted that the HMA features “limited public land water” and

that the herd relies on a livestock watering system, but neither the ROD nor the Handbook on

which it relied made any express connection between the lack of naturally occurring water and

the ostensible need to sterilize horses. Similarly, the ROD failed to acknowledge the FEIS’s

finding that “a successful working relationship [with local ranchers] exists to ensure wild horses



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always have sufficient water available.” The herd’s reliance on a livestock watering system is not

new, nor has the BLM offered any evidence to suggest that it has ever proven problematic.

Additionally, the BLM’s decision documents offer no indication of how sterilizing the herd

could diminish any ostensible problem associated with access to water; after all, even sterilized

horses will still need to drink. The BLM’s decision documents thus wholly failed to explain why

the lack of public water on the HMA led to the decision to set a goal of sterilizing this entire wild

horse herd.

        55.     Third, the ROD emphasized that sterilization would aid the BLM in maintaining a

dispersed herd in the HMA. Seemingly, the ROD emphasized this argument because one of the

Handbook’s criteria for designating non-reproducing herds is “low ecologic [sic] condition,” but

the ROD never stated that the BLM made its decision on this basis. Indeed, the BLM has never

offered any evidence that the HMA suffers from any low ecological conditions, nor that horses

are responsible for them. Additionally, the ROD overstated its claim: the ROD stated that

sterilization “would allow” the BLM to maintain a dispersed herd, but the portion of the FEIS

that it cited in support stated with much less certainty that sterilization “may” cause erstwhile

stallions to be less eager to breach fences. Moreover, as described below, the BLM never

explained how this effect could possibly be consistent with the duty to maintain free-roaming

behaviors, nor explained how the agency’s current position could possibly be consistent with its

finding in prior actions on other HMAs that geldings are more stationary and less prone to

disperse. For these reasons, the BLM failed to draw any rational connection between the

possibility that sterilization may promote dispersed herds and the decision to set a goal of

sterilizing this entire herd.




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        56.     The ROD’s stated “rationale for wild horse decisions” failed to draw any rational

connection between its purported findings—that the HMA has limited water, that the herd has an

average genetic makeup, and that sterilized males may breach fences less often—and the BLM’s

decision to sterilize this entire herd.

        57.     The ROD also failed to address “essential considerations of national policy,” as

NEPA’s implementing regulations require. 40 C.F.R. § 1502.2(b). The ROD did examine its

consistency with efforts to preserve the sage grouse and did describe its consultations and

coordination under other statutes, but it did not examine its consistency with the national policies

that Congress enacted in the WHA itself. For example, the ROD did not address how its decision

could possibly comport with the WHA’s requirements that the agency “protect” wild horses.

Indeed, the BLM did not mention this standard anywhere in the FEIS, RMP, or ROD. Moreover,

despite the fact that this authorization serves as the first-ever RMP to approve sterilization of

wild horses, let alone the first BLM decision to authorize the complete eradication of

reproductive viability in a wild horse herd, the BLM failed to consider and analyze the

precedential consequences of this decision for future wild horse management in Idaho and other

BLM jurisdictions.

        58.     Further, the ROD did not “[s]tate whether all practicable means to avoid or

minimize environmental harm from the alternative selected have been adopted, and if not, why

they were not.” 40 C.F.R. § 1502.2(c). As described below in greater detail, any method of

sterilization will harm wild horses by subjecting them to traumatic roundups and surgical or

chemical sterilization, and by disrupting many of their hallmark natural behaviors. Despite this

fact, the ROD’s single paragraph on mitigation measures did not even mention wild horses. The

ROD did not explain what practicable means the BLM could take to avoid or minimize these



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harms, despite the fact that the agency had ample scientific evidence from both the NAS report

and the AWHPC’s expert declarations suggesting that temporary, reversible contraceptives are a

better and less invasive solution that would harm individual horses less and have less impact on

their natural behaviors. The BLM ignored this scientific evidence, totally failing to explain in the

ROD why the agency chose not to adopt this practicable means of avoiding environmental harm.

Instead, the ROD simply confirmed that the BLM had chosen a clear goal of total sterilization of

the entire Saylor Creek wild horse herd, which will lead to irreversible impacts to the horses and

the herd as a whole.

                       2. The FEIS and its failures

       59.     The FEIS confirmed the objective of total sterilization of the Saylor Creek wild

horse herd. Although the FEIS considered alternatives that included managing herds in which all

horses would be reproductively viable, the BLM’s preferred alternative continued to be a “non-

reproducing herd.” The FEIS confirmed that it planned to gather “all wild horses” and return

only horses that meet the “population criteria” of being non-reproducing (i.e. sterile). Moreover,

the FEIS confirmed that its population criteria include “[t]reating all wild horses surgically or

chemically to eliminate reproduction capability.” Finally, the FEIS confirmed that there would

be “no foaling.” In other words, the BLM left no doubt that its objective was to sterilize all the

horses in the Saylor Creek HMA, totally eliminating their reproductive viability.

       60.     Despite the clear objective of wholesale sterilization of this wild horse herd, the

FEIS failed to analyze significant impacts that this objective will have on individual horses and

the herd as a whole. First, the FEIS did not adequately consider how this action will affect the

behavior of individual wild horses. The FEIS considered only one behavioral impact, stating that

sterilization “may reduce the instinct of males to breech [sic] fences to intermingle and challenge



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for control of neighboring bands,” which the BLM reasoned may help reduce localized impacts

from grazing by large bands of horses (although it has never suggested that localized overgrazing

is problematic in this HMA). This scanty analysis considered only one of many known impacts

of sterilizing stallions, such as the loss of competitive, aggressive, or defensive behavior, and

failed to consider any known or obvious impacts of sterilizing mares. The NAS reported that

sterilization can cause various physiological and behavioral impacts to mares, but the FEIS

wholly ignored these impacts.

       61.     The FEIS further failed to consider impacts from the complete and permanent

elimination of pregnancy and foaling, despite the fact that these impacts flow from any method

of permanently sterilizing horses. The permanent elimination of pregnancy and foaling for all

mares in a population is itself a significant impact to horse behavior. It will alter the behavior of

stallions and the entire herd. Stallion behaviors will change, including impacting natural behavior

of guarding pregnant mares and mares with foals—a behavior that will obviously disappear if the

herd does not include pregnant mares or foals. Eliminating pregnancy and foaling will also affect

the entire herd by eliminating hallmarks of their wild behavior that revolve around reproduction,

such as the sparring of stallions and the formation of harems. It will also affect members of the

public who enjoy viewing wild horse behaviors, as described in a declaration included in

AWHPC’s protest letter that the BLM seemingly ignored. The FEIS did not address any of these

impacts.

       62.     Similarly, the FEIS failed to consider important physiological impacts on wild

horses. Physiological impacts can include significant hormonal changes in both male and female

horses, which can make horses weaker and slower and affect their ability to survive and compete

in the wild. Although the NAS documented varying levels of risk from all known fertility



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controls, and the AWHPC included declarations along with its protest letter documenting these

and other physiological impacts on wild horses, the FEIS did not address these impacts in

approving the sterilization of this wild horse herd.

        63.     The FEIS also failed to consider impacts on the health of the range that may result

from sterilizing the wild horse herd. By altering horse behavior, eliminating their reproductive

capacity risks altering the way that the Saylor Creek herd impacts the HMA. As the BLM

acknowledged in a prior EA, sterilized horses may gather in larger concentrations than fertile

horses, risking greater localized impacts such as overgrazing. (The FEIS here stated that

sterilizing males may aid in dispersing the horses, seemingly reversing the agency’s perspective

on this issue with no explanation.) At a minimum, the FEIS should have considered whether and

how sterilizing the Saylor Creek herd would alter the impacts the herd has on its HMA. If the

BLM changed its mind about the effects of sterilization, and now believes that it makes horses

disperse rather than congregate in larger groups, the BLM should have explained the scientific

basis for its reversal of position.

        64.     Moreover, if the BLM believes that sterilization aids in maintaining dispersed

herds by reducing the instinct of males to breach fences to vie for females, the agency should

have analyzed and explained how this effect could possibly be consistent with the BLM’s duty to

manage wild horses to maintain free-roaming behaviors under 40 C.F.R. § 4700.0-6(c). The

BLM defined the term “free-roaming” to mean that wild horses “are able to move without

restriction by fences or other barriers within an HMA.” Handbook H-4700-1, at 57. If

sterilization makes fences more effective by reducing males’ instincts to breach them, as the

FEIS stated, then sterilization conflicts with the BLM’s duty to manage horses to maintain “free-

roaming” behavior. The FEIS should at a minimum have acknowledged and analyzed this issue.



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       65.     The FEIS also failed to consider a reasonable range of alternatives to its preferred

tactic of wholesale sterilization of this herd. The FEIS considered only alternatives with

“reproducing” or “non-reproducing” herds, but did not analyze an alternative with a partially

reproducing herd. Prior plans from the BLM have aimed to control wild horse population growth

through the use of temporary, reversible contraceptives. Similarly, the NAS study, which the

BLM itself commissioned, offered scientific guidance on wild horse population management

through the use of such fertility controls on some, but not all, horses within a herd. The WHA

imposed on the BLM a statutory duty to consider this scientific input. Plaintiff AWHPC’s

comments on the BLM’s DEIS also suggested that the agency should consider the use of

temporary, reversible fertility controls on some horses, and NEPA imposed a statutory duty to

consider this input as well. But despite the available science, its statutory duties, and its prior

practice, the BLM here considered only the black-and-white alternatives of a herd that

reproduces or a herd that does not. The FEIS should have considered alternatives that included

the use of temporary, reversible fertility controls on some but not all members of the Saylor

Creek herd in order to take a hard look at a full spectrum of alternatives.

       66.     Similarly, the FEIS failed to consider an alternative that would have increased the

herd’s access to water. The agency’s Record of Decision explained that it chose to sterilize the

Saylor Creek herd in part because of a lack of naturally occurring water on the HMA, which

currently forces the herd to rely on an artificial livestock watering system. Despite this, the FEIS

did not consider an alternative that could have expanded the herd’s access to water, either by

reducing livestock grazing to expand the herd’s access to the artificial watering system, or by

providing a wildlife corridor that would allow the horses to reach, and water at, the Snake River

(where they historically watered before human disturbance drove them away). Either of these



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alternatives—reduced grazing or increased access to the Snake River—could have mitigated or

eliminated one of the stated reasons for BLM’s choice to sterilize this herd. The FEIS should

have considered both, but failed to consider either.

       67.     The FEIS also failed to consider relevant cumulative impacts on horses from the

RMP’s objectives. The FEIS did not consider any impacts to horses outside the Saylor Creek

HMA. The FEIS stated that because this HMA is geographically isolated, wild horses do not

migrate between it and other HMAs, which led the agency to conclude that “impacts related to

wild horse management actions would only affect wild horses within the Saylor Creek HMA.”

However, the BLM also acknowledged that sterilizing this herd will require the BLM to

regularly import horses from other HMAs, first by importing “excess” horses from other HMAs

in Idaho, and then from other states. The BLM thus acknowledged that actions that impact the

Saylor Creek herd will influence how many wild horses the BLM will import and sterilize from

other HMAs, and how regularly it will have to do so. Importing and sterilizing horses from other

HMAs may have a bevy of impacts both to the imported horses and the horses already residing

in Saylor Creek. These impacts may range from physiological and behavioral changes to

imported horses, associated with the trauma of roundups, transport, and sterilization, as well as

the difficulty of integrating into a new herd. Similarly, the resident horses’ may undergo

behavioral changes associated with integrating new members into the herd or suffer from

diseases that imported horses bring along. For all these reasons, the BLM should have analyzed

how its objective of sterilizing this herd is likely to have cumulative impacts on other horses and

other herds.

       68.     With regard to the Saylor Creek herd itself, the FEIS also failed to adequately

consider cumulative impacts. The FEIS analyzed cumulative impacts from only one source,



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“land use authorizations.” Within that category, the FEIS analyzed only impacts from energy

projects. It did not consider cumulative impacts from four other sources—water use, vegetation

management, fire management, and livestock grazing—despite the fact that the FEIS elsewhere

acknowledged that each of these may impact the herd in significant ways. For example, the

BLM’s ROD grounded the decision to sterilize this herd in part on the HMA’s lack of naturally

occurring water, which forces the herd to share a livestock watering system, and the FEIS

acknowledged that livestock watering may have cumulative impacts, but the FEIS did not

address cumulative impacts from livestock watering on the Saylor Creek herd. Similarly,

although the FEIS discussed direct and indirect impacts from vegetation management on wild

horses, and acknowledged that vegetation management can have cumulative impacts, it failed to

acknowledge or discuss cumulative impacts from vegetation management on wild horses. The

FEIS also failed to discuss cumulative impacts from wildfires and fire management—despite the

fact that it recognized that wildfires and management efforts can have cumulative impacts,

documented impacts from fire on the Saylor Creek herd, and designated the HMA as a “critical

suppression area … with the highest priority for fire suppression.” Finally, the FEIS failed to

discuss cumulative impacts from livestock grazing, despite the fact that the FEIS made clear that

this herd competes with far greater numbers of livestock for forage and water. The FEIS should

have considered how all these impacts and others act together in a cumulative fashion, but it

failed to do so.

        69.        The FEIS also included an internally contradictory discussion of the impacts of

sterilization on the herd’s genetic diversity, failing to either demonstrate informed decision-

making or to provide the public clear, comprehensible information. The FEIS stated that

managing a non-reproducing herd “would impact wild horse genetic diversity less than any other



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alternative,” including an alternative that would have managed a larger herd of reproductively

viable horses. This statement defies logic and conflicts with science that was presented to the

BLM in both the NAS study and numerous expert declarations furnished by AWHPC, yet the

FEIS nowhere discusses this body of science that the agency had statutory duties to consider.

This statement also conflicts with descriptions of genetic diversity, and management to maintain

genetic diversity, elsewhere in the FEIS itself. The FEIS acknowledged that the “effective

reproducing population [] influences the genetic diversity of a wild horse herd by affecting the

size of the gene pool.” Further, the FEIS acknowledged that reducing the number of breeding

individuals risks the loss of genetic diversity, while increasing the number of breeding

individuals mitigates that risk. Nevertheless, the FEIS concluded that totally eliminating the

breeding population would impact genetic diversity less than alternatives that preserved or

increased breeding populations. This internally contradictory discussion utterly fails to facilitate

informed public participation in the agency’s decision-making. (At one point, the FEIS even

stated misleadingly that its preferred alternative would manage a breeding population, when in

fact it would sterilize the whole herd.) This deficient analysis contravened the requirement that

an EIS be written to provide clear information to members of the public, and failed to facilitate

meaningful public participation or demonstrate informed agency decision-making.

       70.     The FEIS also failed to demonstrate informed decision-making or to facilitate

informed public participation because it ignored highly relevant scientific information that was

known and available to the BLM. Most conspicuously, the FEIS never mentioned or cited the

National Academy of Science report, “Using Science to Improve the BLM Wild Horse and

Burro Program: A Way Forward.” That report includes highly relevant material, such as an entire

chapter on “methods and effects of fertility management” and another chapter on “genetic



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diversity in free-ranging horse and burro populations.” Yet, despite the fact that the WHA states

that the BLM “shall consider the recommendations of qualified scientists” and the fact that the

BLM itself commissioned this report, the FEIS never even mentioned it. A layperson reading the

FEIS would have no way to know this report even exists, much less any assurance that the BLM

actually considered the scientific evidence the agency itself commissioned. If the BLM had

considered this report, it may have arrived at a very different decision from the current

authorization of wholesale sterilization of a herd, because the NAS report identifies “the most

promising fertility-control methods” as consisting of temporary contraceptives and the use of

chemical vasectomies on some, but not all stallions in a herd. Similarly, the AWHPC’s protest

letter included declarations from leading experts in wild horse biology, which raised significant

biological concerns with sterilization of wild horses and recommended the use of temporary,

reversible contraceptives instead. The BLM did not meaningfully consider—let alone analyze—

any of this highly probative scientific evidence. By ignoring the NAS report and the AWHPC’s

expert declarations, the FEIS failed to demonstrate informed agency decision-making or to

facilitate informed public participation in the agency’s decision.

       71.     The FEIS and RMP also ignored important statutory mandates that Congress

established in the WHA. Despite the fact that the Wild Horse Act aims to “protect” wild horses,

none of the decision documents discussed this statutory requirement at all. The BLM’s response

to AWHPC’s protest letter confirmed that the agency did not consider this statutory standard.

AWHPC stated clearly in its protest letter that the BLM’s authorization of complete and

permanent sterilization of this herd would fail to protect the horses or to preserve their natural,

free-roaming behavior and self-sustaining population. In response, the BLM utterly failed to

explain how its authorization could possibly protect wild horses. This failure led to a deeply



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flawed process that failed to even consider whether the BLM’s goal was consistent with the

WHA’s statutory mandate.

       72.     Possibly because the BLM’s deeply flawed FEIS failed to even consider whether

its goal was consistent with the WHA, the agency’s final decision is in conflict with that statute.

The WHA instructs the BLM to “protect” wild horses, but the BLM’s objective of wholesale

sterilization of an entire wild horse herd will entirely fail to honor this statutory requirement.

Sterilization does not “protect” wild horses. Instead of protecting horses and preserving their

wild, free-roaming behavior, sterilization will yield what one of AWHPC’s expert declarants

described as “a semi-free-roaming herd of domestic horses.” Each individual horse will suffer

trauma from being rounded up and chemically or surgically neutered, and the herd will lose

many of its hallmark behaviors for which Congress protected wild horses in the first instance.

Although the BLM has some discretion to take actions to manage wild horse populations to

preserve other range resources and uses, the BLM has not documented any impairment of range

resources or uses here requiring such an invasive wild horse management practice, in conflict

with the WHA.

       73.      In sum, the BLM’s plan to permanently sterilize the entire herd of wild horses in

the Saylor Creek HMA will fundamentally change the herd and all its members. Permanent

sterilization will irrevocably destroy the horses’ natural social behaviors, taking away the very

behaviors that make these horses wild. At best, the herd will become “a semi-free-roaming herd

of domestic horses.” Moreover, the BLM’s plan to regularly import and sterilize horses from

other HMAs will convert the Saylor Creek HMA—which Congress designed to host a self-

sustaining population of wild horses and which has served that purpose for over 30 years—into a

glorified holding pen for sterile horses that will neither enjoy their natural behaviors nor have



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any capacity to sustain the herd’s long-term future. As alleged in detail below, the BLM’s plan

violates the National Environmental Policy Act, the Wild Free-Roaming Horses and Burros Act,

and the Administrative Procedure Act.

                               PLAINTIFFS’ CLAIMS FOR RELIEF

   I.         Violations of the National Environmental Policy Act

        74.      Plaintiffs incorporate paragraphs 1 through 73 by reference.

        75.      By failing to consider the direct, indirect, and cumulative impacts from

sterilization on the behavior and physiology of wild horses and herd dynamics, as well as their

environment in the Saylor Creek HMA, the BLM violated NEPA and its implementing

regulations.

        76.      The FEIS failed to consider reasonable alternatives, including alternatives that

would render only some horses non-reproducing; that would manage the herd’s population

growth using temporary, reversible contraceptives with proven scientific efficacy; that would

increase the herd’s access to water by reducing livestock grazing; and that would increase the

herd’s access to water by providing access to the Snake River. By failing to analyze a reasonable

range of alternatives to its goal of sterilizing an entire wild horse herd, the BLM violated NEPA

and its implementing regulations.

        77.      By failing to analyze cumulative impacts to horses outside the Saylor Creek

HMA, and by failing to consider cumulative impacts from various sources (including livestock)

within this HMA, the BLM violated NEPA and its implementing regulations.

        78.      The FEIS’s discussion of impacts to the genetic diversity of the Saylor Creek wild

horse herd is so unclear, unsubstantiated, and internally contradictory that it violated NEPA and

its implementing regulations by failing to analyze real data, failing to offer rational analysis,



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failing to facilitate fully informed public participation, and failing to demonstrate informed

agency decision-making.

       79.     By failing to consider the NAS report on wild horse management and the

AWHPC’s expert scientific declarations, the BLM failed to demonstrate informed decision-

making and failed to facilitate public participation in the agency’s decision-making, in violation

of NEPA and its implementing regulations.

       80.     By failing to respond to specific comments that the AWHPC and other members

of the public submitted in response to the DEIS, the BLM violated NEPA and its implementing

regulations.

       81.     By failing to explain to the public the basis for its decision to sterilize an entire

wild horse herd and to ground that decision in the health of the range or the necessity to manage

wild horse populations to preserve other uses, the BLM violated NEPA’s public participation

mandate.

       82.     By failing to explain or analyze in the ROD or FEIS essential considerations of

national policy in the Wild Horse Act or the precedential implications of the BLM’s action, the

BLM violated NEPA and its implementing regulations.

       83.     By failing either to adopt measures to avoid harms to horses or to explain why it

did not adopt those measures, the BLM violated NEPA and its implementing regulations.

       84.     Through these NEPA violations, the BLM has acted arbitrarily and capriciously,

abused its discretion, acted otherwise not in accordance with law, and acted “without observance

of procedure required by law,” rendering its action unlawful under NEPA and Section 706(2) of

the Administrative Procedure Act.




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   II.         Violations of the Wild Free-Roaming Horses and Burros Act and the
               Administrative Procedure Act

         85.      Plaintiffs incorporate paragraphs 1 through 73 by reference.

         86.      The BLM’s violations of the WHA in the FEIS, ROD, and RMP constitute

agency action “not in accordance with law,” in violation of Section 706(2) of the Administrative

Procedure Act.

         87.      By failing to consider how sterilization conflicts with its duty to manage wild

horses to preserve their free-roaming behavior, failing to consider sterilization’s impacts on wild

horses it has a duty to protect, and by authorizing the sterilization of an entire herd of wild

horses, which will impair wild horses’ behavior and harm individual horses and the herd as a

whole, the BLM failed to consider an important aspect of the problem before it and failed to

protect wild horses. The BLM thus violated the WHA and acted arbitrarily and capriciously

under Section 706(2) of the Administrative Procedure Act.

         88.      By failing to consider how sterilization conflicts with its duty to manage self-

sustaining wild horse populations, and by authorizing the wholesale sterilization of an entire wild

horse herd, which will harm individual horses and destroy many of the herd’s characteristic

behaviors, and which will eliminate the herd’s ability to be self-sustaining, the BLM failed to

consider an important aspect of the problem before it and failed to protect wild horses. The BLM

thus violated the WHA and acted arbitrarily and capriciously under Section 706(2) of the

Administrative Procedure Act.


         WHEREFORE, plaintiffs respectfully request that the Court enter an Order:

         1.       Declaring that defendants have violated the National Environmental Policy Act,

the Wild Free-Roaming Horses and Burros Act, and the Administrative Procedure Act;



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       2.      Enjoining defendants from taking any action to implement the Jarbidge RMP’s

land use plan objective of sterilizing the Saylor Creek wild horse herd;

       3.      Vacating the Jarbidge RMP, ROD, and FEIS and remanding those decisions to the

agency for further consideration consistent with the Wild Free Roaming Horses and Burros Act

and the National Environmental Policy Act;

       4.      Awarding plaintiffs their reasonable attorneys’ fees and costs in this action; and

       5.      Granting plaintiffs any further relief as the Court may deem just and proper.



                                                 Respectfully submitted,

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